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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              AT BOWLING GREEN

                   CRIMINAL ACTION NO. 1:09CR-00026-TBR-(26)

  UNITED STATES OF AMERICA                                                     PLAINTIFF

  vs.

  CHARLES CURRY                                                              DEFENDANT


                         REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

  Rules of Criminal Procedure, and has entered a plea of guilty to Count One of the Forty-

  Three-Count Third Superseding Felony Indictment. After cautioning and examining the

  Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined

  that the guilty plea was knowledgeable and voluntary and that the offense charged is

  supported by an independent basis in fact containing each of the essential elements of

  such offense. I, therefore, recommend that the plea of GUILTY be accepted and that the

  Defendant be adjudged GUILTY and have sentence imposed accordingly.

        ENTERED this January 20, 2011
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                                          NOTICE

         Failure to file written objections to this Report and Recommendation within (14)

  days from the date of its service shall bar an aggrieved party from attacking such Report

  and Recommendation before the assigned United States District Judge.

  28 U.S.C. 636(b)(1)(B).

         Date of Service: January 20, 2011




  Copies to:    Counsel of Record
                US Marshal
                US Probation
                Ms. Kelly Harris, Case Manager




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